






						NOS. 12-07-00382-CR


          12-07-00383-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


JOY DEAN NEAL,§
		APPEAL FROM THE 241ST

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		SMITH COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


PER CURIAM


	Joy Dean Neal appeals from two convictions for indecency with a child.  Appellant's counsel
filed a brief in compliance with Anders v. California, 386 U.S. 738, 87 S. Ct. 1396, 18 L. Ed. 2d 493
(1967), and Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  The State waived the filing
of a brief.  Thereafter, Appellant filed a pro se brief.  We affirm.


Background

	Appellant pleaded guilty in each of two cases to the second degree felony offense of
indecency with a child.  There was no plea agreement.  Following the preparation of a presentence
report and a hearing on punishment, the trial court assessed punishment at eighteen years of
imprisonment for each case.  These appeals followed.


Analysis Pursuant to Anders v. California

	Appellant's counsel has filed a brief in compliance with Anders and Gainous.  Counsel states
that he has diligently reviewed the appellate record and that he is well acquainted with the facts of
this case.  In compliance with Anders, Gainous, and High v. State, 573 S.W.2d 807 (Tex. Crim.
App. 1978), counsel's brief presents a thorough chronological summary of the procedural history of
the case and further states that counsel is unable to present any arguable issues for appeal.

	Appellant filed a pro se brief in which he raised issues concerning the pretrial discovery, a
polygraph examination that he now claims he wished to take, and the fact that his wife and children
were not present at the trial.  We have considered the briefing and have conducted our own
independent review of the record.  See Anders, 386 U.S. at 745, 87 S. Ct. at 1400; see also Penson
v. Ohio, 488 U.S. 75, 80, 109 S. Ct. 346, 350, 102 L. Ed. 2d 300 (1988).  We have found no
reversible error.  See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).

Conclusion

	As required, Appellant's counsel has moved for leave to withdraw in each case.  See Stafford
v. State, 813 S.W.2d 503, 511 (Tex. Crim. App. 1991).  Having found no reversible error, we affirm
the judgments of the trial court and grant Appellant's counsel's motions for leave to withdraw.


Opinion delivered July 9, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.












(DO NOT PUBLISH)


